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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


HARTFORD UNDERWRITERS
INSURANCE COMPANY, TWIN                            Case No. 18-12907
CITY FIRE INSURANCE COMPANY,
HARTFORD FIRE INSURANCE                            Honorable Nancy G. Edmunds
COMPANY, PROPERTY AND                              Magistrate Judge Kimberly G. Altman
CASUALTY INSURANCE
COMPANY OF HARTFORD,
TRUMBULL INSURANCE COMPANY And
HARTFORD CASULATY INSURANCE
COMPANY,

        Plaintiffs,
v.

OMEGA RESOURCE SOLUTIONS, LLC,

        Defendant.
                        /

ORDER AND OPINION ACCEPTING AND ADOPTING THE MAGISTRATE JUDGE’S
          MAY 21, 2021 REPORT AND RECOMMENDATION [43]

     This matter is before the Court on the Magistrate Judge’s May 21, 2021 Report and

Recommendation. (ECF No. 43.) The Magistrate Judge recommends that the Court deny

Plaintiffs’ Motion Under Fed. R. Civ. P. 69 For Post-Judgment Discovery, Execution of

Judgment, and to Pierce the Corporate Veil of Omega Resource Solutions, LLC (ECF No.

27). The Court has reviewed the record and the pleadings, including the Report and

Recommendation. None of the parties filed objections to the Magistrate Judge’s Report

and Recommendation. “[T]he failure to object to the magistrate judge’s report[] releases

the Court from its duty to independently review the matter.” Hall v. Rawal, 09-10933, 2012

WL 3639070, at *1 (E.D. Mich. Aug. 24, 2012) (citation omitted). The Court nevertheless

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agrees with the Magistrate Judge’s recommendation. The Court therefore ACCEPTS and

ADOPTS the Magistrate Judge’s Report and Recommendation and DENIES Plaintiffs’

motion.

     SO ORDERED.



                                 s/Nancy G. Edmunds
                                 Nancy G. Edmunds
                                 United States District Judge

Dated: June 9, 2021

I hereby certify that a copy of the foregoing document was served upon counsel of record
on June 9, 2021, by electronic and/or ordinary mail.

                                 s/Lisa Bartlett
                                 Case Manager




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